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                       UMTED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No. 22-159 (WMW/TNL)

 TINITED STATES OF AMERICA,

                     Plaintiff,                        PLEA AGREEMENT AND
                                                       SENTENCING STIPULATIONS
       v.

 SHAMIR NATHANN BLACK,

                    Defendant.

      The United. States of America and. defend.ant Shamir Nathann Black
(hereinafter referredto as the "defendant") agree to resolve this case on the terms

and conditions that follow. This plea agreement binds only the defendant and the

United States Attorney's Office for the District of Minnesota (h.ereinafber "the United

States" or "the Government"). This agreement does not bind any other United States

Attorney's Office or any other federal or state agency.

       1.    Charges. In          exchange   for the   concessions   of the United States
contained in this plea agreement, the defendant agrees to plead guilty to Count One

of the Indictment, which charges the defendant         with Carjacking, in violation of   18


U.S.C. S 2119(1). The defendant fulty understands the nature and elements of the

crime with which he has been charged. The United States agrees that             it will not
bring other charges against the defendant based on facts learned in the investigation

of the defendant's conduct that are knownto the United States as of the date of this

plea agreement. At the time of sentencing, the United States agrees to move to

dismissthe remaining countof the Indictment.
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            2.      Factual Basis. The defendant is pleading guilty because he is in fact

guilty of Count One of the Indictment. In pleading guilty, the defendant admits the

following facts and that those facts establish his guilt beyond a reasonable doubt and

constitute relevant conduct pursuant to the United States Sentencing Guidelines:

            On June     g,   2022,   in the State and District of Minnesota, the defendant
attempted to take and did take a motor vehicle from the presence of another person

by force and vioLence, and by intimidation, with the intent to cause death or serior:s

bodilyinjury.

            June 9, 2022 Carjacking

            Specifically,    that   afternoon,   the defendant approached a woman with          the

initials M.T. from behind as she was attempting to enter her car, a gray 2018 Audi

56, afber work in northeast Mnneapolis. The defendant demanded that M.T. give

him the keys to her car, but M.T. refused. When M.T. refused, the defendantpulled

a   1o   ade d   fire arm, a Shadow System Model MR-920 9mm semi automatic pistol         be   aring

serial number SSC025451, from his pocket and pushed M.T. to the ground.. The

defendant attempted to grab M.T.'s purse from across her shoulder and continued to

pinher on the ground while doing so. WhenM.T. refused to hand over her purse, the

defendant cocked the loaded firearm and pointed             it   at M.T. before hitting her across

the face with it.

            After the defendant hit M.T. with the loaded firearm, a man with the initials

D.A. approachedM.T. and the defendantas the two struggledonthe ground. As D.A.
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tried to pull the defendant off M.T., the defendant discharged the firearm in D.A.'s

direction.

        The defendant was able to enter the Audi from the driver's side door and

started the car by pushing the ignition button. The defendant then shifted the

gearshift into drive and drove the vehicle forward a few feet until           it struck a nearby
building. The defendant was then pulled from the car by onlookers, fled the                  scene,

and hid the handgun in the bushes at a nearby park.

        Law enforcement   re spond ed to   the scene and collecte   d   DNA   sa   mples and latent

fingerprintsfromthe Audi. Multiplelatentprints recovered fromtheAudi'sgearshift

belonged to the defendant. A police K9 also located the Shadow Systems handgun                   in
the nearby park, wrapped inthe sweatshirt the defendant had been wearing.

        The defendant agrees that the Audi was transported, shipped, or received in

interstate or foreign commerce. The defendant agrees that he used force, violence,

and   intimidationwiththe intent to cause serious bodily harm in his attemptto obtain

the vehicle from M.T., and that the defendant did, in fact, cause M.T. to suffer bodily

injury. The defendant further stipulates and agrees that            he acted voluntarily, and

that he knew his actions violated the law.

        In additionto the facts above, the defendant participatedin apost-Mirandn
interview with 1aw enforcement on June 28, 2022, and admitted the followingfacts

which he acknowledges the Court may consider pursuant to 18 U.S.C. $ 3553(a) and

for purposes ofcalculating restitution at sentencing.
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      May 16, 2022 Carjaclzing

      On May L6, 2022, in Golden Valley, Minnesota, the defendant approached a

man withthe initials J.A. as J.A. was enteringhis 2014 black BMW 335i outside the

BrecklceArena. The defendantdemandedJ.A.'s car keys, andJ.A. triedto run away

from the defendant. While running, J.A. fel] and the defendant caught up to him.

The defendant then racked the slide of a firearm and pressed               it to J.A.'s head,
demanded the car keys, and started counting down from 10. J.A. gave the defendant

his keys, and the defendant fled the parking lot in J.A.'s BMW.

      May       19,   2022 Carjaching

      On May Ig, 2022, in GoldenValley, Minnesota, the d.efendant approached JR.

as J.R.   exited his 2018 black BMW 430i inside his residential garage. The defendant

pulled out a firearm and demanded J.R.'s cellphone and keys. J.R. complied and the

defendant Ieft in J.R.'s BMW.

      3.         Waiver of Pretrial Motions. The defendantunderstands and agrees

that the defendant has certain rights to file pre-tiial motions in this case. As part of

this plea agreement, and based uponthe concessions of the United States withinthis

plea agreement, the defendant knowingly, willingly, and voluntarily gives up the

right to have any pending motions resolved and to file any additional pre-trial

motions        in this case. The defendant        agrees   that, by pleading guilty, he is
withdrawing any motions previously filed.

          4.     Waiver of Constitutional Trial Rights. The defendant understands

that he has the right to go to          trial. At trial, the defendant   would be presumed
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innocent, have the right to trial by j,rry or, withthe consent of the United States and

of the Cowt, to      trial by the Court, the right to the assistance of counsel, the right to

confront and cross-examine adverse witnesses, the right to subpoena witnesses to

testi$r for the defense, the right to testiff and present evidence, and the right to be

protected from compelled self-incrimination. The defendant understands that he has

the right to an attorney at every stage of these proceedings and, ifnecessary, one will

be appointed to represent       him. The defendant understands that            he has the right to

persist in a plea of not guilty and, if he does so, he would have the right to a public

and speedy trial. By pleading guilty, the defendant knowingly, willingly, and

voluntarily waives each of these triat rights, except the right to counsel. The

defendant understands that a guilty plea is a complete and final admission of guilt

and, if the Court accepts the guilty plea, the Court wiII adjudge the defendant guilty

without a tria].

         5.     Additional Consequences. The defendant understands that as                        a

re   sult of his conviction, he could be   asse sse d   the costs of prosecution and exp erience

additional consequences, such as the loss of the right to carry firearms, the right to

vote, and the right to holdpublic office.

         6.     Statutory Penalties. The         d.efendant und.erstands        that Count One of

the Indictment, Carjacking, in violationof 18 U.S.C.           S   2119(1), is a felony offense that

carries the following statutory penalties:

                a.       a maximum of 15 years in prison;

                b.       a supervised release term ofnot more than 3 years;



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                c.       a maximum fine of $250,000;

                d.      restitution as agreed to by the parties in this agreement;

                e.       assessment to the defendant ofthe costs ofprosecution as

                         authorized in 28 U.S.C. $$ 1918&) and 1920;

                f.       a mand,atory special assessment of $100 under 18 U.S.C.
                         S   3013(a)(2)(A); and

                g.       the possible loss of eligibility for federal benefits pursuant to 2L
                         U.S.C. S 862(a)(1).

        7.      Revocation of SupervisedRelease. The defendantunderstands that

if the d.efend ant were to violate any supervise      d reLe ase cond   ition while on sup ervised

rele ase, the Court could revoke the defe ndant's sup ervise d rele ase, and the defe ndant

could be sentenced to an additional term of imprisonment up to the statutory

maximum set forth            in   18 U.S.C. S 3583(e)(3). See U.S.S.G. SS 78I.4, 78L.5. The

defendant also understands that as part of any revocation, the Court may include a

requirementthat the defendantbe placedon an additionalterm of supervisedrelease

after imprisonment, as set forth in 18 U.S.C.         S   3583(h).

        8.      Guidelines Calculations. The parties acknowledge that                          the

defendant    will    be sentenced in accordance     with   18 U.S.C. S 3551, et seq. Nothing    in

this plea agreement should be construed to limit the parties from presenting aII
relevant evidence to the Court at sentencing. The parties also acknowledge that the

Court   will   consider the United States Sentencing Guidelines              in determining    the

appropriate sentence and stipulate to the following guidelines calculations. The

parties stipulate to the following guidelines calculations:
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           Base Offense Level. The parties agree that the base offense level
           is 20. U.S.S.G. $ 2B3.1(a).

      b.   Specific Offense Characteristics. The parties agree         that   the
           offense level should be increased bv:

                  7 levels because a firearm was discharged.
                  u.s.s.G.  $ 283. 1(b)(2)(A).

           ii)    2 levels because the offense involved bodily harm.
                  u.s.s.G. s 2B3. 1(b)(3xA).

           iii)   2 levels as the victim was physically restrainedto facilitate
                  commissionof the offense. U.S.S.G. S 283.1&)(4)@).

           iv)    2 levels as the offense involved carjacking. U.S.S.G.
                  s 283.1@)(5).

           v)     The parties agree that no other specific offense
                  characteristics apply.

      c.   Chapter 3 Adjustments. The parties agree that, other than
           acceptanceof responsibility, no other Chapter 3 adjustments
           appIv.

      d.   Acceptance    of Responsibilitv. The government           agrees to
           recommend that the defendant receive a 2-level reduction for
           acceptance of responsibilitypursuant to U.S.S.G. $ 3E1.1(a). As
           the defendant has timely notified the government of his intention
           to enter a plea of guilty, the government agrees to recommend
           that the defendant receive an additional l-level reduction
           pursuant to U.S.S.G. S 3E1.1(b). Whether these reductions will
           be imposed shall be determined by the Court in its discretion
           However, the defendant understands and agrees that the
           government's recommendations are conditioned upon the
           following: (1) the defendant testifies truthfully duringthe change
           of plea and sentencing hearings; (2) the defendant provides ful1
           somplete and truthful information to the United States Probation
           Office in the pre-sentence investigation; and (3) the defendant
           engages in no conduct inconsistent with acceptance of
           responsibility before the time of sentencing, including frivolously
           denying facts in the Presentence Report. Nothing in this
           agreement limits the right of the government, pursuant to
           U.S.S.G. $ 3E1.1 and/or S 3C1.1 to seek denial of a reductionfor
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                     acceptance of responsibility or an enhancement for obstruction of
                     justice should the defendant move to withdraw his guilty plea
                     after it is entered.

               e.    Criminal Historv Catesory. The parties believe that, at the time
                     of  sentencing, the defendant will fall into Criminal History
                     Category III. U.S.S.G. S 4A1.1. This does not constitute a
                     stipulation, but a belief based on an assessment of the
                     information currently known. The defendant's actua-l criminal
                     history and related status will be determined bythe Court based
                     on the information presented in the Presentence Report and by
                     the parties at the time of sentencing. The defendantunderstands
                     that if the presentence investigation reveals any prior adult or
                     juvenile sentence which should be included within his criminal
                     history under the U.S. Sentencing Guidelines, the defendant will
                     be sentenced based on his true criminal history category, and he
                     will not be permitted to withdraw from this PIea Agreement.
                     u.s.s.G. s 4A1.1.

               f.    Guidelines Range.     If the adjusted offense  leveL is 30
                     (20+7+2+2+2-3), and the criminal history category is III, the
                     Sentencing Guidelines range is L21-L5l rnonths of
                     imprisonrnent.
               g     Fine Range. If the adjusted offense level is 30, the Sentencing
                     Guidelines fine range is $30,000 to $300,000. U.S.S.G.
                      $ 5E1.2(cX3).

               h.    Supervised Release. The Sentencing Guidelines call for a term of
                     supervised release of at least 1 year up to a maximum supervised
                     release term of 3 years. U.S.S.G. $ 5D 1.2(a)(2).

         9.    Discretion of the Court. The foregoing stipulations are binding on

theparties,butdonotbindtheProbationOfficeortheCourt.          Thepartiesunderstand

that the Sentencing Guidelines are advisory, and their application is a matter that

fa1ls   solelywithinthe Court's discretion. The Court will make its own determination

regarding the applicable Guidelines factors and the applicable criminal history

category. The Cowt may also depart from the applicable Guidelines range.        If   the
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Court or the Probation Office determines that the applicable guideline calculations

or the defendant's criminal history category is different from that stated above, the

parties may not withd.raw fromthis agreement, and the defendant willbe sentenced

pursuant to the Court's determinations.

        10.    Agreements as to Sentencing Recommendation. In consideration

of the.concessions made in this Plea Agreement, including the anticipated dismissal

of Count 2 of.thelnd.ictment, whichcarries a mandatory consecutive sentence of 120

months' imprisonment, the defendant agrees to recommend that he be sentencedto

a term of imprisonment at the highest end of his advisory Guidelines range. The

United States reserves the right to make a motion for departures from the applicable

Guidelines range pursuant to 18 U.S.C.      S   3553(a) and to argue for a sentence outside

the applicable Guidelines range.        If the Court does not accept the sentencing
recommendations of the parties, the defendant          will have no right to withdraw his
guilty plea.

        11.    Special Assessrnent. The Guidelines require payment of a special

assessment     in the amount of $100 for   each felony count of which the defendant is

convicted,pursuant to Guideline $ 5E1.3. The defendant agrees to pay the special

assessment prior to sentencing.

        12.    Restitution Agreement.

        The defendant understands and agrees that the MandatoryVictimRestitution

Act,   L8 U.S.C. $ 3663A, applies and   that the Court is required to order the defendant

to make restitution to the victims of his crime(s). The defendant agrees that he owes
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restitution and agrees that the Court shall order him to pay restitutionto the victims

of his crime, in an amount to be determined by the parties prior to sentencing.

      13.    Disclosure of Assets. The defendantwillfully and completelydisclose

to the United States Attorney's Office the existence and location of any assets in

which the defendant has any right, title, or interest, or over which the defendant

exercises control, directly or indirectly, including those assets held by    a   spouse,

nominee or other third party, or any business owned or controlled by the defendant.

The defendant agrees to assist the United States in identifuing,locating, returning,

and transferring assets for use in payment of restitution fines, and forfeiture ordered

by the Court. The defendant agrees to complete a financial statement within two

weeks of the entry of his guilty plea. The d.efendant further agrees to execute any

releasesthat may be necessaryfor the United States to obtain informationconcerning

the defendant's assets and expressly authorizes the United States to obtain a credit

report onthe defendant to evaluate his ability to satisfy financial obligations imposed

by the Court.   If requested by the United States, the defendant    agrees to submit to

one or more asset interviews or depositions under oath.

       14. Forfeiture.           The defendant agrees to forfeit to the United States,

pursuant to 18 U.S.C.   S   924(dX1) and 28 U.S.C. $ 2461(c), the following firearm(s)

and associated accessories and ammunition: Shadow System Model MR-920, bearing

serial number SSC02545      1.


      The defendant agrees that the United States may, at its option, forfeit such

property through civil, criminal, or administrative proceedings, waives any deadline


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or statute of limitations for the initiation of any such proceedings, and abandons any

interest he may have in the property. The defendant waives all statutory and

constitutional defenses to the forfeiture and consents to the destruction of the

firearms and emmunition.

        15.   Waivers of Appeal and Collateral Attack. The defendant hereby

waives the rightto appeal any non-jurisdictionalissues. This appeal waiverincludes,

but is not limited to, the defendant's waiver of the right to appeal guilt or innocence,

sentence and restitution, and the constitutionality of the statutes to which the

defendant is pleading   guilty. The defendant   also waives the right to petitionunder

28 U.S.C. S 2255 except based upon a claim of ineffective assistance of counsel.

        The defendant has discussed these rights with the defendant's attorney. The

defendant understands the rights being waived, and the defendant waives these

rights knowingly, intelligently, and voluntarily

        The United States agrees to waive its right to appeal any sentence, except the

government may appeal the substantive reasonableness of a term of imprisonment

below 90 months' imprisonment.

        16.   FOIA Requests. The defendant waives aII rights to obtain, directly or

through others, information about the investigation and prosecution of this           case

under the Freedom of Information Act and the Privacy Act      of.   L974, 5 U.S.C. SS 552,

5524.




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        17.   Complete Agreement. This, along with any agreement signed by the

parties before entry of the plea, is the entire agreement and understandingbetween

the United States and the defendant.


                                             ANDREWM. LUGER
                                             Unite'fl States Attorne

Date: Srth:,ruV'r        hrtnzZ
                                             Assistant United States Attorney


Date:
        q Lo/?L                              \-/ll/In,r k..
                                             Shamir Nathann Black


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Date:
             /ro /207,
                                             Ian Birrell, Esq.
                                             Counsel for Defendant




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